575 F.2d 1258
    C. D. BURRUS and Donald L. Troutman, d/b/a Burrus andTroutman Livestock and Hauling, Petitioners,v.U. S. DEPARTMENT OF AGRICULTURE and the Packers andStockyards Administration, Respondents.
    No. 77-1883.
    United States Court of Appeals,Eighth Circuit.
    Submitted May 18, 1978.Decided May 31, 1978.
    
      Richard A. Koehler, Livestock Marketing Assn., Kansas City, Mo., for petitioners.
      Barbara Allen Babcock, Morton Hollander and Robert Kaplan (argued), Civil Div., U. S. Dept. of Justice, Washington, D. C., and James Michael Kelly, Raymond W. Fullerton and John E. Ford, U. S. Dept. of Agriculture, Washington, D. C., on brief, for respondents.
      Before HEANEY and STEPHENSON, Circuit Judges, and BECKER, Senior District Judge.*
      PER CURIAM.
    
    
      1
      C. D. Burrus and Donald L. Troutman seek review of an order of the Secretary of Agriculture.  The Secretary held that the petitioners violated the Packers and Stockyards Act, 1921, 7 U.S.C. § 181 et seq., and the regulations issued pursuant to the Act by (1) operating a livestock scale which failed to comply with requirements because it was improperly balanced; (2) selling livestock to packers at false and incorrect weights obtained by adding an arbitrary number of pounds to the purchase weights of livestock; (3) issuing and maintaining scale tickets and invoices which showed false and incorrect weights; and (4) collecting money from packers on the basis of the false records.
    
    
      2
      We have carefully reviewed the record and find that the order of the Secretary is supported by substantial evidence on the record as a whole, that no error of law appears and that an opinion would be without precedential value.  For these reasons, we deny the petition for review and enforce the order of the Secretary of Agriculture without opinion.  See Rule 14 of the Rules of this Court.
    
    
      
        *
         The Honorable William H. Becker, Senior District Judge, Western District of Missouri, sitting by designation
      
    
    